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                          EXHIBIT N - 3                      PX0009-003
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                          EXHIBIT N - 7                      PX0009-007
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                          EXHIBIT N - 8                      PX0009-008
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                          EXHIBIT N - 11                      PX0009-011
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                          EXHIBIT N - 16                      PX0009-016
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                          EXHIBIT N - 17                      PX0009-017
